AO 245C (W D N C R ev. 4/04) Judgm ent in a C rim inal C ase
sheet 1



                                                                 United States District Court
                                                            For The W estern District of North Carolina

UNITED STATES OF AMERICA                                                                                  AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                                                  (For Offenses Com m itted On or After Novem ber 1, 1987)
            V.
                                                                                                  Case Num ber: DNCW 303CR000219-001
                                                                                                  USM Num ber: 23887-056
Anewa Tiari-El
(Nam e of Defendant)


 Date of Original Judgment: 8/26/09                                                         Claire J. Rauscher

 (Or Date of Last Amended Judgment)                                                    Defendant’s Attorney

 Reason for Amendment:

        Correction of Sentence on R em and (Fed. R . C rim . P. 35(a))                     M odification of Supervision C onditions (18 U .S.C . §§ 3563(c) or 3583(e))

        Reduction of Sentence for C hanged C ircum stances (Fed. R .                       M odification of Im posed Term of Im prisonm ent for Extraordinary and
        P. 35(b))                                                                           C om pelling R easons (18 U .S.C . § 3582(c)(1))

        Correction of Sentence by Sentencing Court (Fed. R . C rim . P.                   M odification of Im posed Term of Im prisonm ent for R etroactive to the
                                                                                          Sentencing Guidelines (18 U .S.C . § 3582(c)(2))

    X   C orrection of Sentence for C lerical M istake (Fed. R . C rim . P.)               Direct M otion to District C ourt         28 U.S.C . § 2255 or

                                                                                                 18 U .S.C . § 3559(c)(7)

                                                                                           M odification of R estitution Order 18 U.S.C . § 3664


AC C O R D IN G LY, the court has adjudicated that the defendant is guilty of the following offense(s):

THE D EFEN D AN T:

X           pleaded guilty to count(s) .
            Pleaded nolo contendere to count(s) which was accepted by the court.
            W as found guilty on count(s) after a plea of not guilty.


                                                                                                                        D ate O ffense
 Title and Section                         N ature of Offense                                                           C oncluded                              C ounts

 18 U.S.C . 286                            C onspiracy to File False Claikm s for Tax R efunds                          1/2004                                  1s

 18 U.S.C . 287 and 2                      Filing False Claim s for Tax R efunds and Aiding and Abetting Others         1/2004                                  2s-5s, 8s-11s



         The D efendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the Sentencing Reform Act of 1984
reference to Booker, and 128 U .S.C . 3553(a).

            The D efendant has been found not guilty on count(s) .
            C ount(s) (is)(are) dism issed on the m otion of the U nited States.

           IT IS ORD ERED that the Defendant shall notify the United States Attorney for this district within 30 days of any change of nam e, residence, or m ailing
address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall
notify the court and U nited States attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                                                  D ate of Im position of Sentence: 7/8/10



                                                                                                              Signed: September 27, 2010




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Defendant: Anewa Tiari-El                                                                                                Judgm ent-Page 2 of 6
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                                                                        IM PRISONM ENT

       The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of Sixty
(60) MONTHS on each of counts 1s, 2s-5s, 8s-11s, each count to run concurrent.




X    The Court m akes the following recom m endations to the Bureau of Prisons:
     The Defendant shall participate in the Inm ate Financial Responsibility Program .

     The defendant is rem anded to the custody of the United States Marshal.

X    The defendant shall surrender to the United States Marshal for this district:

              at        On     .
          X   As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


              Before 2 pm on .
              As notified by the United States Marshal.
              As notified by the Probation or Pretrial Services Office.

                                                                            RETURN

I have executed this Judgm ent as follows:




         Defendant delivered on                                               To

At                                                            , with a certified copy of this Judgm ent.




                                                                                              United States Marshal


                                                                                      By:
                                                                                              Deputy Marshal




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Defendant: Anewa Tiari-El                                                                                                                       Judgm ent-Page 3 of 6
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                                                                     SUPERVISED RELEASE

       Upon release from im prisonm ent, the defendant shall be on supervised release for a term of THREE (3) YEARS on each of
counts 1s, 2s-5s, 8s-11s, each count to run concurrent.

         The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low risk
         of future substance abuse.

                                                       STANDARD CONDITIONS OF SUPERVISION

         The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.       The defendant shall not com m it another federal, state, or local crim e.
2.       The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.       The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the
         term of supervised release on a schedule to be established by the C ourt.
4.       The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.       The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.       The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.       The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall subm it a truthful and com plete written
         report within the first five days of each m onth.
8.       A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release from
         custody of the Bureau of Prisons.
 9.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.      The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by the
         probation officer.
12.      The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.      The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other
         controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.      The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such tim e
         as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days of
         release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of
         18:3563(a)(5) or 18:3583(d), respectively.
15.      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.      The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless granted
         perm ission to do so by the probation officer.
17.      The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any electronic
         device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e, conducted by any U.S.
         Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. The defendant shall warn other
         residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband observed
         by the probation officer.
19.      The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the C ourt.
21.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal
         history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification
         requirem ent.
22.      If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
         circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.      If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic m onitoring
         or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.      The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.      The defendant shall participate in transitional support services under the guidance and supervision of the U .S. Probation Officer. The defendant shall rem ain
         in the services until satisfactorily discharged by the service provider and/or with the approval of the U .S. Probation Officer.


ADDITIONAL CONDITIONS:




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Defendant: Anewa Tiari-El                                                                                             Judgm ent-Page 4 of 6
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                                                              CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                  ASSESSM ENT                                                FINE                             RESTITUTION

                       $900.00                                               $0.00                              $244,287.86



                                                                             FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X             The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X             The interest requirem ent is waived.

              The interest requirem ent is m odified as follows:


                                                              COURT APPOINTED COUNSEL FEES

              The defendant shall pay court appointed counsel fees.

              The defendant shall pay $                         Towards court appointed fees.




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                                                               SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

         A                 Lum p sum paym ent of $                 Due im m ediately, balance due

                           Not later than               , or
                           In accordance            (C),       (D) below; or

         B                 Paym ent to begin im m ediately (m ay be com bined with          (C),       (D) below); or

         C                 Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $           To com m ence
                           (E.g. 30 or 60 days) after the date of this judgm ent; or

         D     X           Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To com m ence 60
                           (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire am ount of
                           crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the U.S. Probation
                           Officer shall pursue collection of the am ount due, and m ay request the court to establish or m odify a paym ent
                           schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court costs:
         The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are
to be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210, Charlotte, NC 28202, except those paym ents
m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are to be
m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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Defendant: Anewa Tiari-El                                                                                Judgm ent-Page 5a of 6
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                                                              RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                      AMOUNT OF RESTITUTION ORDERED
 Gary Carpenter                                                     $360.00

 Richard and Andrea Goodwin                                         $700.00

 Rodney Morrison                                                    $305.00

 Reginald Jones                                                     $700.00

 Donald Hargro                                                      $1,220.00

 Loriann Holm es                                                    $320.00

 Selby Artist                                                       $700.00

 Ericka Truesdale                                                   $320.00

 Luther W atts                                                      $150.00

 Joyce Ryals Bynum                                                  $305.00

 Johnetta Sadler (now Davis)                                        $305.00

 Della Jean Redo                                                    $305.00

 Marcus Landy                                                       $1,200.00

 Kathy Patillo                                                      $915.00

 Yvette Avery                                                       $305.00

 Yvonne Jones                                                       $305.00

 Leon Featherson                                                    $300.00

 Rosita Littlejohn                                                  $1,010.00

 Toby Gibson                                                        $1,515.00

 Cora Gibson                                                        $1,515.00

 John W aller                                                       $1,515.00

 Charlene Miller                                                    $305.00

 Mary Blakely                                                       $305.00

 Betty Fisher                                                       $300.00

 Paul Nelson                                                        $1,500.00

 Pam ela Kiser                                                      $305.00

 Jackie and Sadie Belk                                              $915.00

 Lisa Belk                                                          $610.00
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 Dorothy T. W ilson                                               Document
                                                                    $360.00 287   Filed 09/28/10   Page 6 of 19
Charlene McGriff                                 $610.00

Norm an Black                                    $305.00

Robert and Deborah Banks                         $650.00

Stephanie Thom as                                $305.00

Eddie and Mary Pegues                            $900.00

Henry and Dallas W illiam s, Jr.                 $305.00

Carrie Ella Kahan                                $500.00

Bennie and Irene Allen                           $305.00

George W iltcher                                 $915.00

Delores Gwaltney                                 $238.00

Joyce and Henry Bittle                           $305.00

Thom as E. Elm ore                               $700.00

April Chavis                                     $305.00

Landry and Carolyn Rucker                        $610.00

Sadie Mayfield                                   $610.00

Zelm a C. Ham m ond                              $610.00

Pam ela F. Anderson                              $305.00

Carrie D. Covington                              $305.00

W illie and Linda Duncan                         $305.00

Tam m y Layton                                   $305.00

Barbara Barnette                                 $350.00

Kenneth and Naom i Burks                         $760.00

Edwin McLean                                     $300.00

Penny McClendon                                  $305.00

Ruth Hopkins                                     $300.00

Margaret McIlwain                                $1,500.00

W ilm a Lim ous                                  $305.00

Jam es and Brenda Crowder                        $915.00

Jerry A. Rawls                                   $600.00

Paul Lyons                                       $550.00

Jam ie Monroe                                    $305.00

Nicholas Abanquoh                                $915.00

Dorothy Martin                                   $605.00

Sam m ie Baskins, Jr.                            $405.00

Alvin Lattin                                     $1,150.00

Juanita Barnes                                   $915.00

Mark Arrington                                   $305.00
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Anthony Black                                   $610.00

Angela Parker-W right                           $150.00

Randall Black                                   $602.00

Henry Black                                     $915.00

Barbara Miller                                  $305.00

Mona Burgos                                     $700.00

Gary Bost                                       $150.00

Dennis and Betty Buglio                         $240.00

Brian Buglio                                    $140.00

RS and Tom m ie Clyburn                         $915.00

Jam es Haskett                                  $1,300.00

Joan Lim ous                                    $305.00

Tushim a Livingston                             $915.00

W illie Barnes                                  $900.00

Mary Gaddy                                      $500.00

Drew Lee                                        $305.00

Vonsha Farnum                                   $450.00

Sean R. W elch                                  $300.00

Deborah Gordon                                  $305.00

Christopher and Shirese Adam s                  $700.00

Em m a Jean Jones                               $900.00

Colleen Facey                                   $305.00

Ellis W augh                                    $360.00

Jeffery Andrews                                 $715.00

Delina Folk                                     $915.00

Joe and Agnes Crawford                          $605.00

Matthew and Rhonda Nixon                        $500.00

Jim m y and Mary Littlejohn                     $305.00

W illiam Thom pson                              $305.00

Rose Booker                                     $305.00

Antoinette Floyd                                $305.00

Veronica Kodzai                                 $915.00

Kofi Abanquah                                   $1,050.00

Darlene Adam s                                  $505.00

Joyce Cash                                      $300.00

Lula Sm ith                                     $1,000.00

Tyrone Caesar                                   $305.00
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Robert and Coletta W harton                       $1,220.00

Johnny Rorie                                      $610.00

Jam il Dukes                                      $405.00

W anda Grant                                      $500.00

Teresa Paulk                                      $915.00

Hubert Houston                                    $500.00

Bonita Sm ith                                     $610.00

LaJuan Glenn                                      $305.00

Debra Haynes                                      $915.00

Genell Carson                                     $305.00

Melody Roseboro                                   $360.00

W illie House                                     $305.00

Larry Eaton                                       $305.00

Daryl McCorm ack                                  $305.00

David and W endy Cox                              $610.00

Lisa Blakeney                                     $305.00

Freddie W illiam s                                $305.00

Thom as and Barbara Grady                         $915.00

Sim on Majekodunm i                               $915.00

Arthur Drayton, Jr.                               $300.00

Clarence Hobgood                                  $500.00

Debra Allen                                       $305.00

Leola Ingram                                      $500.00

Randy Ivey and Dorothy Stevenson (wife)           $2,600.00

Annie Carson                                      $600.00

Colette Clahoun                                   $500.00

Lynett Grier                                      $150.00

Bryant W illiam s, Jr.                            $610.00

Elm er Miller                                     $500.00

Robert and W endi Nantz                           $700.00

W illiam and Betty Adam s                         $610.00

Joe W all                                         $305.00

Pam ela Mason                                     $610.00

Am elia Dye                                       $305.00

Martha Bratton                                    $305.00

Lucy Johnson                                      $150.00

Tim othy Collins                                  $150.00
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Vorise Peeples                                  $405.00

Doyd and Hattie Crisco                          $305.00

Jim m y Dale Blakeney                           $305.00

Kenneth Burson                                  $305.00

Roosevelt and W ilm a Hicks                     $500.00

Essie Abram s                                   $610.00

Phyllis Hough                                   $300.00

Larnette Frazier                                $305.00

Am anda and Juanita Johnson                     $305.00

Phillip and W illette Johnson                   $500.00

Nancy Baucom                                    $360.00

Angela Dye                                      $500.00

Cathy Dye                                       $500.00

Trinicia King                                   $700.00

Leonard and Katherine W hite                    $704.00

Sadie Bennett                                   $610.00

Roy Lockhart                                    $500.00

Edward Bennett                                  $610.00

Betty Harris                                    $305.00

Myra and Alvin Johnson                          $305.00

Anthony Allen                                   $700.00

Devone Allen                                    $300.00

Pam ela Collins                                 $500.00

Kenley Hardison                                 $500.00

Brenda Holm es (now W hite-Pharr)               $305.00

Lora McDowell                                   $150.00

Dennis and Sheresa Jones                        $1,300.00

April McGowan                                   $305.00

Monica Mundy                                    $700.00

Charles and Mary Springs                        $305.00

Jam es Cooley                                   $500.00

Tiffany Graham                                  $300.00

Donald Ross Evans                               $610.00

Dem onstrius Seegars                            $360.00

Lawrence Brownlee                               $305.00

Lam ont Hutchinson                              $150.00

Zakiyah Bilal                                   $300.00
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Kevin Thom pson                                    $150.00

Paul Gillis                                        $305.00

Diann Gillis                                       $600.00

Constance Chinn                                    $150.00

Mildred Glenn                                      $900.00

Clyde Caudle                                       $915.00

Flossie Gilbert                                    $500.00

Glenda Cam pbell                                   $500.00

Leon Davis                                         $610.00

Viola Patton                                       $300.00

Carolyn and Richard Baker                          $1,300.00

Devodie Arnett                                     $300.00

Valeria Ham m ond                                  $915.00

W ilm a Carelock                                   $305.00

Casey House                                        $610.00

Anita Flowe                                        $305.00

Tracy Melton                                       $1,300.00

Latasha Baker                                      $305.00

Annette Broadway                                   $150.00

Michael Horton                                     $305.00

Meka Hayes                                         $915.00

Bryan Conley                                       $300.00

Albert Nelson                                      $1,184.07

Evonne Hawthorne                                   $610.00

Boyce and Joelyn Baker                             $915.00

Jim m y Phillips                                   $360.00

Ernest McCollom , Jr.                              $900.00

Steven Carelock                                    $915.00

Curtis and Chashawah Helm s                        $305.00

Eric and Roberts Coulter                           $300.00

Tam ika Herndon                                    $240.00

Betty Luckey                                       $350.00

Archie and Tara McLeod                             $500.00

Stephanie Gilchrist                                $1,300.00

Scottie Hill                                       $900.00

Katrina Gibson                                     $610.00

Tyrone Legette                                     $305.00
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Kenneth Davis                                   $500.00

Anthony Fair                                    $305.00

Barbara Black                                   $915.00

Denise Crowder                                  $305.00

Connie Hayes                                    $610.00

Eunice W itherspoon                             $305.00

Daniel Bellam y                                 $200.00

Byron and Olivia Mudd                           $150.00

Stacey Thom as                                  $700.00

John L. Johnson                                 $600.00

Bobby and Anna Terrell                          $915.00

Reynard and Patricia Moore                      $915.00

Ora Matthews                                    $300.00

Dillon and Sue Aldridge                         $915.00

Virgil Ivey                                     $305.00

Marvin and Jacqueline Bennett                   $1,300.00

Thom as and Pauline Ford                        $500.00

Mable Huntley                                   $305.00

Solom on Hunter                                 $500.00

Tina Davis                                      $900.00

Joann Horton                                    $305.00

Um onta and Qureshi Clyburn                     $915.00

Lorinda Stafford                                $305.00

Rodney Sigm on                                  $300.00

Shone Houston                                   $305.00

Johnny Poole                                    $715.00

Michael Murphy                                  $150.00

Betty Miller                                    $305.00

Herm an and Belinda Mazyck                      $610.00

Linda Boyland                                   $915.00

W ilbert and Delores Young                      $700.00

Johnnie Mayberry                                $610.00

Ricky Lilly                                     $305.00

Della Bailey Benisrael                          $770.00

Rosetta Rice                                    $700.00

Aaron and Mary Cogborn                          $610.00

Vivian Connor                                   $700.00
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Delores W ood                                    $715.00

Theonita Lewis                                   $1,000.00

Kim berly Lewis                                  $500.00

Naom i Howard                                    $305.00

Bernell Bailey                                   $500.00

Ruby McCullough                                  $915.00

Bartina Davis                                    $405.00

Glenn and Gloria Harold                          $915.00

Virginia Parker                                  $1,500.00

Jam es Richard and Alice Norris                  $1,300.00

Tam m y Caldwell                                 $915.00

Judy Mayes                                       $600.00

Terry W illiam s-Bell                            $310.00

Lem uel Lam ar Holm es                           $915.00

Joseph Prescott                                  $1,350.00

Marion W illiam s (now Ali)                      $600.00

Brian Moore                                      $1,200.00

Clarence and Lee Moore                           $710.00

Zettie Easter                                    $715.00

Arlene Harris                                    $305.00

Regina Barrett                                   $610.00

Lakeyta Henderson                                $305.00

Otis Hilton                                      $702.00

Betty Henderson                                  $305.00

Sabrina Marbury                                  $300.00

Richard and Vicki Baker                          $1,300.00

Joseph Haskett, Jr.                              $1,300.00

Melvin and Stephanie Banks                       $500.00

Anna Ham m ond                                   $305.00

W ilbert Scott                                   $610.00

Rosetta Jones                                    $915.00

Casey Blevins                                    $915.00

Angela Allen                                     $305.00

Deborah Clardy                                   $300.00

Aaron Fauntleroy                                 $305.00

Bobby Blakney                                    $305.00

Mary W ilson                                     $400.00
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Natasha Merritt                                  $305.00

Alphonso and Libby Blakeney                      $305.00

Jenova Lowery                                    $500.00

Beatrice Kearse                                  $360.00

Jam es Pate                                      $500.00

W alter Lee Faye, Jr.                            $1,345.00

Martha Long                                      $305.00

Gladys Patterson                                 $305.00

Cassie McGowan                                   $305.00

Gene and Karen Davis                             $915.00

Rosa Lee Carr                                    $915.00

Tom m y and Glenda Ballard                       $715.00

Charles Onukoga                                  $700.00

Floyd and Lorene Bowen                           $1,500.00

Mechell and Madaline Henderson                   $305.00

Shirleen Hylton                                  $305.00

Barbara and Curtis Hawes                         $2,600.00

Charles Clyburn                                  $305.00

Lashondra and Bryant Agnew                       $1,000.00

Ethel Deberry                                    $305.00

Albert Reeves                                    $715.00

Lori Clyburn                                     $610.00

Melvina Harris                                   $305.00

Ray and Lorene Green                             $500.00

Gloria Gray                                      $305.00

Lisa Crawford                                    $305.00

Resa Gatewood (now Jam es)                       $305.00

Barbara Hennigan                                 $1,300.00

Carolyn Carelock                                 $812.00

Asonia Gordon                                    $500.00

Ann Lipscom b                                    $500.00

Connie W ardlaw                                  $305.00

Mary L. Lee                                      $610.00

Jam es Lotharp                                   $610.00

Kay Muriel                                       $405.00

Spencer Jones                                    $915.00

Richard Tyson                                    $305.00
                 Case 3:03-cr-00219-GCM-DCK   Document   287   Filed 09/28/10   Page 14 of 19
Frances Ingram                                  $305.00

Donald Johnson, Jr.                             $200.00

Steve McClellan                                 $315.00

Trina Allen                                     $1,000.00

Stephanie Nixon                                 $425.00

Jerry and Patricia Bennett                      $610.00

Rita Crowder                                    $305.00

Janice Cousar                                   $305.00

Crystal Black                                   $610.00

Edwin Butler                                    $610.00

Oscar Barrett                                   $610.00

Dorthine Hunter                                 $500.00

Orvis Haithcock                                 $900.00

Denise Horton                                   $305.00

Roosevelt Curry                                 $600.00

Clint Hester                                    $305.00

Gary and Tam m y Kelly                          $305.00

Magnolia W hite                                 $300.00

Aaron Hough                                     $900.00

Salynn Alexander                                $305.00

Christopher Caldwell                            $305.00

George Covington                                $915.00

Jeffrey Ford                                    $700.00

Reginald Dubose                                 $600.00

Jacquelyn Bigby                                 $238.00

Minnie Deberry                                  $305.00

Rufus Miller                                    $900.00

Sandra Green                                    $610.00

Dem etric Sm ith                                $305.00

Jam es Baten                                    $610.00

Johnny Helm s                                   $610.00

David Baker                                     $915.00

Raym ond Hoxit                                  $500.00

Karen Owen                                      $500.00

Cynthia McFadden                                $305.00

Mary Duncan                                     $305.00

Larry and Brenda W ilson                        $720.00
                Case 3:03-cr-00219-GCM-DCK   Document   287   Filed 09/28/10   Page 15 of 19
Catherine Gyant                                  $305.00

Jance McGee                                      $500.00

Jackson Gilbert, III                             $700.00

Everette and Jim ola W ade                       $900.00

Edward and Penny Biddix                          $1,300.00

Geneva Moore                                     $305.00

David Austin                                     $1,300.00

Daisy Floyd                                      $305.00

Michelle Harrison                                $805.00

Darryl Patterson                                 $500.00

Norm a Nantz                                     $305.00

Russell Baker                                    $915.00

Bonnie Kilgo                                     $250.00

Shiretha Rorie                                   $610.00

Thurm an Young, Jr.                              $500.00

Reggie Sm ith                                    $300.00

Mariana Aguilar                                  $610.00

Melody Lane                                      $1,220.00

Sophia W illiam s                                $305.00

Ernest and Andrea Thom pson                      $305.00

Anthony Bennett                                  $1,300.00

Arthur and Denise Cathcart                       $915.00

Craig Bennett                                    $705.00

W endy Aery                                      $305.00

Gay Carelock                                     $305.00

Margaret W itherspoon                            $305.00

W illie Mills                                    $500.00

Bryan Koonce                                     $700.00

W illie Davis                                    $305.00

Alpha Om ega Sm ith                              $300.00

Kenneth Bryant                                   $305.00

Cassandra Blakeney                               $305.00

David Blaine Morris                              $300.00

Henrietta Capel                                  $305.00

Barry W idem an                                  $610.00

Robert and Violet Stinson                        $305.00

Derrick Allard                                   $500.00
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Norm an Funderburk                                         $500.00

Henrietta Melton                                           $350.00

Larry Graham , Sr.                                         $500.00

Michael and Lenise Parrott                                 $610.00

Antonio Grady                                              $612.00

Ruth Hem phill                                             $305.00

Michael and Patricia W atson                               $610.00

Rollin Mosley                                              $500.00

Theodis Carelock                                           $305.00

Ava W illiam s                                             $610.00

W illette Herring                                          $305.00

Antonio Black                                              $150.00

Michael J. Manuel                                          $350.00

Rudean Harris                                              $2,300.00

Roosevelt Parks                                            $915.00

Gilbert and Deborah W hiteside                             $610.00

Herm an W illiam s                                         $300.00

Carlton and Barbara Stewart                                $350.00

Ethel Jordan                                               $305.00

Paulette Carter                                            $600.00

Gloria Sifford                                             $305.00

Diane Polk                                                 $305.00

Darryl Cunningham                                          $305.00

Mary Harding                                               $305.00

Marjorie Thornton                                          $305.00

Elizabeth W ilson                                          $305.00

Toni Stovall                                               $305.00

Tyra Stovall                                               $305.00

Dina Sawyer                                                $350.00

Mitchell Pegram                                            $3,000.00

Lisa Lipscom b                                             $500.00

Joyce Jenkins Shelton                                      $505.79

Marion W illiam s                                          $150.00




X     Joint and Several

             X   CaseDefendant and Co-Defendant Nam es
                      3:03-cr-00219-GCM-DCK            and Case Num
                                                     Document    287bers Filed
                                                                         (including defendant Page
                                                                                09/28/10      number)
                                                                                                   17if of
                                                                                                        appropriate:
                                                                                                           19
   Leandra Sm ith, 3:03cr219-2

   Court gives notice that this case m ay involve other defendants who m ay be held jointly and severally liable for
   paym ent of all or part of the restitution ordered here in and m ay order such paym ent in the future.

   The victim s’ recovery is lim ited to the am ount of their loss and the defendant’s liability for restitution ceases if
   and when the victim (s) receive full restitution.

   Any paym ent not in full shall be divided proportionately am ong victim s.




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AO 245B (W D N C Rev. 4/09) Judgm ent in a C rim inal C ase



Defendant: Anewa Tiari-El                                                                                         Judgm ent-Page 6 of 6
Case Num ber: DNCW 303CR000219-001

                                                          STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend the
term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance, possession
of a firearm and/or am m unition, and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)     ____________________________________ Date: _________________
           Defendant

(Signed)     ____________________________________ Date: _________________
           U.S. Probation Office/Designated W itness




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